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                       EXHIBIT E
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                    IN THE CIRCUIT COURT OF THE 15TH JUDICIAL C IRCUIT
                         IN AND FOR PALM BEACH COUNTY, FLORIDA

                                                  CIVIL DIVISION "A B"
                                                  CASE NO: 502015CAOl4480XXXXMB
    PALM HO USE HOTEL, LLLP, a
    Florida limited liability partnership,
                   Plaintiff(s),

   vs.

   ROBERT MATTHEWS, et al.
            Defendant(s).
   _________________________1.


               ORDER GRANTING INVESTORS' MOTION TO INTERVENE AND
                  S PECIFYING LIMITED PURPOSES OF INTERVENTION

           THIS CAUSE came before the Court on the Motion to Intervene for Limited Purpose (the

   " Motion"). [DE 159.] The Court having considered the Motion , the authorities cited by the

   parties, and the arguments of counsel, it is hereby

           ORDERED AND ADJUDGED :

           The Motion is granted subject to the limited purposes specified herein.

           In this action, Plaintiff, a Florida limited liability limited partnership, sued to recover

   money lent for the purpose of development of the Palm House Hotel (the " Project").            The

   Defendants are alleged to have misappropriated the loan funds andlor conspired to do so. Part of

   the misappropriated loan fund s are alleged to be $2,323,179 which was deposited in an account

   held by the court-appointed Receiver of the Pa lm I-louse Hotel.       (See agreed order entered

   September 22 , 2016 [DE 125] .) These funds were transferred to the Receiver by the clerk of the

   United States District Court for the Southern District of Florida.

           The Motion to Intervene is brought by 58 alleged investors           111   the Project (the

   ··Movants'"). The Motion indicates that Movants are among "over 80 foreigners" from countries
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   "such as China and Iran" who invested in the Project under the federal EB-5 Prog ram. They

   allege that the Project, including Plaintiff s invo lvement as a lender, was a fraudulent scheme,

   that Movants were the so urce of all the loan fund s and that the money in the Court regi stry is

   theirs. I

               In a separate action, Li, el 01. v. Walsh, el 01. (No.9: 16-cv-81871-KAM, S. Dist. Fla. filed

   Nov. 14, 2016), Movants have sued in federal court to recover their investments totaling in

   excess of $50,000,000, together wilh other damages.               (Mot. 2; Intervenors' Req. for Judicial

   Notice      ~   I [D E 202].) In their federal complaint, Movants have sued PlaintifTand all Defendants

   in the herein aClion, and 17 other persons or entities who are not parties to the herein action. In

   their federal complaint , Movant s allege they invested under a Limited Partnership Agreement

   which they attach as Exhibit H to their federal complaint. A copy of the Limited Partnership

   Ag reement is also attached to the opposition memo randum of law tiled in thi s action by Plaintiff,

   w hich was presented to thi s Court without obj ecti on. [DE 163.]

               In the Motion , Movants seek to intervene for the purposes of:

               ( I) objecting to and opposing the di st ribution of any fund s currently being held in the

   Recei ver-establi shed escrow account;

               (2) objecting to and oppo sing the distribution of any funds which may be brought into the

   Receive r-establi shed escrow account in the future;

               (3) moving the COut1, at a later date, for di stribution of the proceeds in the Receiver-

   establi shed escrow account to Defrauded Investors;




   I Despite Movant ' s allegation that they we re the SOllrce of a ll loan fund s, they also identify themselves as
   part of "over 80 foreigners" who invested in the project and, in a separate lawsuit brought by Movants in
   federal cou rt, they allege "at least 93 ... interests were so ld ... "(Fed. CampI. ~ 19, inFo.) and also make
   reference to ove r 90 defrauded investo rs (Fed. CampI. ~ 16, inFo.).
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             (4) movin g the Court, at a later date, to tran sfer the proceeds in the Receiver-establi shed

   escrow account to the regi stry of the court in the federal court action;

             (5) moving the Court to require Plaintiff and the Recei ver to post appropriate bonds;

             (6) getting notice of being able to participate in any and all hearings with respect to the

   di stribution of any proceed s from the Receiver-establi shed escrow account;

             (7) monitoring thi s case, including but not limited to, attending depositions; and

             (8) any other such further relief as is necessa ry and just.

   (Mot. 6-7.)

             Florida Rule of Civil Procedure 1.230 provides: "Anyone claiming an interest in pending

   litigation may at any time be permitted to assert a right by intervention, but the intervention shall

   be in subordination to, and in recognition of, the propriety of the main proceeding, un less

   otherwise ordered by the court in its discretion. "

             Determining a motion to intervene is in the discretion of the Court.         De SOllsa v. JP

   Morgan Chase, N.A. , 170 So.3d 928, 929 (Fla. 4th DCA 2015). It in vo lves a two-step process.

   Union Cent. Li/e Ins. v. Carlisle, 593 So.2d 505, 507-08 (Fla. 1992).

             First , the trial court must "determine if the intervenor' s purported interest entitles it to

   intervene." S. Com/ort Grill. Inc. v. Hank 's Constr" LLC, 162 So.3d 144, 145 (Fla. 4th DCA

   2015). Only after concluding that the party's interest is appropriate to support intervention, the

   trial court "must [then] exercise its sound discretion to determine whether to permit

   intervention. " Id.

             In thi s first step, "the court should consider a number of factors, including the derivation

   of the interest, any pertinent contractual language, the size of the interest, the potential for
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   conflicts or new issues, and any other relevant circumstance." Id. (quoting Carlisle, 593 So.2d at

   507-08).

               The Court has considered the factors above and, although the Plaintiff has argued that the

   Movants' interest is indirect and not sufficient to warrant intervention , this Court disagrees. The

   Court finds intervention appropriate based upon the Movants' claim that their money was

   acquired by Plaintiff under fraudulent circumstances, was advanced by Plaintiff to the

   Defendants, and thereafter used by the Defendants for improper/unlawful purposes .             Simply

   stated , although the Plaintiff claims that the Defendants have misappropriated funds advanced to

   it by the Plaintiff, the Movants claim that the funds advanced by Plaintiff to Defendant s were the

   same fund s which were improperly/unlawfully obtained from the Movants by the Plaintiff.

            In the second step, "the court must determine the parameters of the intervention

   Thus, intervention should be limited to the extent necessary to protect the interests of all the

   parties."     Farese v. Palm Beach Parlners. Ltd., 781 So.2d 419, 421 (Fla. 4th DCA 200 I). The

   Cout1 finds that the Movants' eight (8) proposed purposes for intervention exceed the

   appropriate and necessary scope of their interest.

               "Trial courts have discretion to limit the extent to which intervenors may participate in

   proceedings." Farese, supra. "However, when the limitation completely bars the intervenors

   from addressing their concerns, it is an abuse of the trial court's discretion. " Genaller v. Downey

   & Downey, P.A ., 190 So.3d 131 , 135 (Fla. 4th DCA 2016). The limitations imposed here are not

   a de facto denial of the Motion.

            In Genauer, the beneficiaries of a trust and their attorney moved to intervene in an action

   by a former attorney for the trust against the trust's successor trustee, seek ing to recover from the

   trust payment due under an attorney's fee contract, attorney's fees for services to the trust, and
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   damages for mal icious prosecution . The beneficiaries argued that they are the real parties in

   interest, not the successor trustee, because the corpus of the trust belongs to them, a judgment

   wou ld affect their inheritance and the pl a intiff law firm 's claims were adverse to their interests.

   The tri al court granted the intervention , but denied the intervenors the status as a party and

   prohibited them from filing any moti on, answer, counterclaim, or engaging in any di scovery.

   The appellate coul1 reversed, finding that the limitations on the interventi on "allowed the

   beneficiaries to monitor the case, but prevented them from taking any action , thus amounting to a

   de facto denial of the in terventi on. " fd. at 135,

             C learl y, in GenGuer, as in the other cases cited by Movants, the putative intervenors

   wished to have the court in which they seek to intervene be the court to decide the validity of

   their substanti ve claims to the di sputed funds. Thi s allowed the intervention to be limited to the

   issues raised by the pleadings of the ex isting parties and the intervenors.

             Here. however, Movants have previously fil ed a separate federal actio n to decide the

   va lidity of their substantive claim s to the di sputed funds. Yet the purposes for which they seek

   interve ntion are stated so broadl y as to imply they want thi s Court also to adjudicate those

   cl aims. The scope of Movants' proposed intervention , if permitted as requested, wou ld arguably

   all ow them to conduct di scovery (and be subj ected to di scovery) and seek adjud ication of their

   substanti ve claims in this action, without actually filing their substantive claims in thi s action, all

   the while proceed ing on a parall el track to have those claims adjudicated by the federal court.

             This Court cannot adjudicate the merits of Movants ' substantive claims pending in the

   federa l court. Consequentl y, the scope of this intervent ion cannot be fram ed by the Movants'

   fede ral claims w ithout further guidance from the federa l court as to the meri t of those claim s.
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             The Movants cannot interject themselves in the disputed claims between the Plaintiff and

    Defendants. Nonetheless, they are entitled through intervention to seek protection for the funds

   they have claimed in federal court to be their own. These claims may overlap. However, it will

    be up to the federal court to determine the strength of the Movants ' claims and this Court will

   look to the factual determinations and rulings in the pending federal litigation to assist it in the

   determination orthe appropriate scope of intervention in this proceeding.

             Initially , the Movants will be given the opportunity to object to proposed uses and/or

   distributions of the funds they claim as their own, but will not be perm itted to pursue, through

   discovery or otherwise, those claim s being litigated in federal court.

             The purpose of the Movants ' previously filed federal action is precisely to establish their

   "right to the property in question," namely, the disputed loan funds and the fruits of the alleged

   misappropriation s of said fund s.                It would be misguided for this Court to adjudicate the

   fundamental issue of whether they have an interest in the disputed fund s while at the same time

   having a pending a federal case seeking adjudication and resolution of that same issue. That

   determination belongs to the federal court, not this Court.

             Based upon the findings herein , it is

             ORDERED AND ADJUDGED as follows:

              (I)    The Motion to Intervene for Limited Purposes is granted upon the following

   conditions:

                      a. All Movants must be continuously represented by the same counselor firm;

   and
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                      b. Al l Movants must act, within the parameters specified herein, as one entity and

   111   the best interest of the group as a whole and shall only espouse positions upon which all

   Movants agree. No indi vidual or majority/ minority positions shall be espoused.

             (2) The Motion is granted to allow Movants to object to and oppose the distribution of

   any funds currently being held by the Receiver.

              (3) The Motion is granted to allow Movants to object to and oppose the distribution of

   any funds which may be brought into the receivership in the future.

             (4) The Motion is granted to allow Movants, upon a showing of good cause arising from

   a ruling or factual determination made in their pending federal court case, to request an order for

   distribution to them of all or part of the proceeds in the receivership. At a minimum, such a

   motion must be supported by an acknowledgement from the federal court that such rei ief is

   appropriate.

             (5) The Motion is granted to allow Movants, upon a showin g of good cause arising from

   a ruling or factua l determination made in their pending federal court case, to request an order to

   transfer the receivership or all or part of the proceeds in the receivership to the registry of the

   federal court. At a minimum , such a motion must be supported by an ack nowledgement from the

   federal court that such rei ie f is appropriate.

             (6) The Motion is granted to permit the Movants to file a written motion within 30 days

   addressing the requirements of the Plaintiff and Receiver to post appropriate bonds. Thereafter,

   the Plai ntiff and Receiver shall have 15 days to file a written response thereto. The Movants

   may file a reply with in 5 days after receipt of the Plaintiffs and Receiver' s response. Courtesy

   copies of the motion, responses, and replies shall be provided to the Court via e-mail at

   CAD-D ivision ABr7ilpbcgo v.org. Upon review, the Court wi ll determine whether furt her hearing
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   is necessary on the motion or, alternatively, whether the matter may be resolved by the Court

   without the necessity of further hearing.

               (7) The Motion is granted for the purpose of Movants being able to participate in any

   and all hearings with respect to the distribution of any proceeds from the Receiver establi shed

   escrow account.

               (8) The Motion is granted to allow Movants to attend and participate in depositions, but

   not   II1   a manner inconsistent with the foregoing rUlings.      Movants may not ask deposition

   questions or take discovery relevant to their substantive claim s pending in federal court as there

   is nothing before thi s Court to indicate that Movants' discovery rights before the federal court

   are limited and Movants' substantive claims could otherwise very quickly overshadow the

   current issues before thi s Court, resulting in substantial delay in reso lution of the pending state

   court claims.       Likewise, the Movants may not ask deposition questions or take discovery

   regardi ng the factual or legal disputes between the Plaintiff and Defendants.

               (9) The Motion is den ied without prejudice as to the request for " any other such further

   rel ief as is necessary and just" as too broad and indefinite.

               DONE AND ORDERED at West Palm Beach, Palm Beach County, Florida this                ~
   day of May, 2017.




                                                            Judge Peter D. Blanc, Circuit Judge
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